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                               4
                                    Attorney for Defendant
                               5    RODNEY TAYLOR
                               6

                               7
                                                               UNITED STATES DISTRICT COURT
                               8
                                                        FOR THE EASTERN DISTRICT OF CALIFORNIA
                               9
                                                                     SACRAMENTO DIVISION
                               10
WISEMAN LAW GROUP, P. C.
 1477 Drew Avenue, Suite 106




                               11
  Telephone: 530.759.0700




                                                                                    )
      Davis, CA 95618




                               12
                                    UNITED STATES OF AMERICA,                       ) No.: CR-S 12-00013-CKD
                               13                                                   )
                                                      Plaintiff,                    ) STIPULATION AND ORDER TO
                               14           vs.                                     ) CONTINUE SENTENCING
                                                                                    )
                               15
                                    RODNEY TAYLOR and                               )
                               16   TAMARA CLAIRBORNE,                              )
                                                                                    )
                               17                   Defendants.                     )
                                                                                    )
                               18

                               19           It is hereby stipulated and agreed to between Plaintiff, UNITED STATES OF
                               20   AMERICA, through its counsel of record, Jill Thomas, Assistant United States
                               21   Attorney, Defendant, RODNEY TAYLOR, through his counsel of record, Jennifer C.
                               22   Noble, and Defendant TAMARA CLAIRBORNE, through her counsel of record,
                               23   Linda Harter, without objection from the United States Probation Officer assigned
                               24   to this case, that the sentencing of Defendants now scheduled for September 20,
                               25   2012 at 9:30 a.m., be rescheduled to, November 15, 2012 at 9:30 a.m.
                               26            Pursuant to this stipulation, the Proposed Presentence Report shall be
                               27   disclosed to Counsel no later than October 4, 2012, Defendant’s Written Objections
                               28   shall be due October 18, 2012, Pre-Sentence Report shall be filed with the Court
                                    ___________________________________________________________________________________________________
                                    Stipulation and [Proposed Order] to Continue Sentencing                      CR-S 12-00013-CKD

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1    October 25, 2012, Defendant’s Motion to Correct the Presentence Report shall be
2    due on November 1, 2012, and Plaintiff’s Opposition/Reply to said motion shall be
3    due on November 8, 2012.
4            The parties are requesting this continuance to allow all parties additional
5    time to meet with Defendants.
6    IT IS SO STIPULATED.
7    DATED: August 16, 2012                    Respectfully submitted,
8
                                                WISEMAN LAW GROUP, P.C.
9                                               By: ___/s/ Jennifer C. Noble_______
10
                                                      JENNIFER C. NOBLE
                                                      Attorney for Defendant
11                                                    RODNEY TAYLOR
12   DATED: August 16, 2012                    By: ___/s/ Jennifer C. Noble for_______
                                                     LINDA HARTER
13                                                   Attorney for Defendant
14
                                                     TAMARA CLAIRBORNE

15
     Dated: August 16, 2012                              BENJAMIN B. WAGNER
                                                         United States Attorney
16
                                                By: /s/ Jennifer C. Noble for
17                                                    JILL THOMAS
18
                                                      Assistant U.S. Attorneys
                                                      Attorney for the United States
19

20                                         PROPOSED ORDER

21           GOOD CAUSE HAVING BEEN SHOWN, IT IS HEREBY ORDERED THAT
22   the sentencing in the above-captioned case be continued to November 15, 2012 at
23   9:30 a.m. and the other dates adjust as noted by stipulation.
24
     Dated: August 27, 2012
25
                                                               ____________________________
26                                                             CAROLYN K. DELANEY
27
                                                               UNITED STATES MAGISTRATE JUDGE

28
     4o
     ___________________________________________________________________________________________________
     Stipulation and [Proposed Order] to Continue Sentencing                      CR-S 12-00013-CKD

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